      Case 2:10-cv-01840-IPJ     Document 123     Filed 11/09/11    Page 1 of 11            FILED
                                                                                   2011 Nov-09 PM 03:40
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

Alabama Gas Corporation,                   )
                       Plaintiff,          )
v.                                         )   CIVIL ACTION NO.:
                                           )   2:10-cv-1840-IPJ
Travelers Casualty and Surety              )
Company, et al.,                           )
                         Defendants.       )
                                           )


          ALAGASCO’S BRIEF IN SUPPORT OF MOTION TO
     LIMIT THE EXPERT TESTIMONY OF KATHLEEN J. ROBISON

      The proposed testimony of Travelers’ second bad faith expert, Kathleen J.

Robison, should be limited because her testimony at deposition demonstrates that

she lacks a sufficient basis to opine on whether or not it is fairly “debatable” if the

Alabama Supreme Court would consider a PRP Letter to be a “suit” triggering

Travelers’ duty to defend. Additionally, Ms. Robison’s testimony made clear that

she lacks a sufficient basis to opine that Travelers acted reasonably when it said the

EPA’s Request for Information under section 104(e) of the Comprehensive

Environmental Response, Compensation and Liability Act (CERCLA), 42 U.S.C.

§ 9604(e), (hereinafter, generally, an “information request”) was not a “formal

claim” and, therefore, the carrier was unable to evaluate its coverage obligations to

Alagasco.    Accordingly, Alagasco respectfully requests that Ms. Robison’s

testimony at trial be limited to the other issues reflected in her expert report
       Case 2:10-cv-01840-IPJ      Document 123      Filed 11/09/11   Page 2 of 11




regarding the timeliness and reasonableness of Travelers’ claims handling

activities and the degree to which those activities adhered to the company’s

procedures.


           I.       ARGUMENT AND CITATION OF AUTHORITIES

A.     The Court’s Familiar Role as Gatekeeper

       Rule 702 of the Federal Rules of Evidence allows expert testimony “[i]f

scientific, technical, or other specialized knowledge will assist the trier of fact to

understand the evidence or to determine a fact in issue.” In Daubert v. Merrell

Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), the United States Supreme Court

set out the applicable standard for the admissibility of expert testimony under Rule

702.    “Daubert’s general holding – setting forth the trial judge’s general

‘gatekeeping’ obligation – applies not only to testimony based on ‘scientific’

knowledge, but also to testimony based on ‘technical’ and ‘other specialized’

knowledge.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999).

       As the Eleventh Circuit has explained, determining the admissibility of

expert testimony under Rule 702 requires a three-part inquiry examining whether:

                (1) the expert is qualified to testify competently regarding the
                matters he intends to address; (2) the methodology by which the
                expert reaches his conclusions is sufficiently reliable as
                determined by the sort of inquiry mandated in Daubert; and (3)
                the testimony assists the trier of fact, through the application of
                scientific, technical, or specialized expertise, to understand the
                evidence or to determine a fact in issue.

                                             2
      Case 2:10-cv-01840-IPJ     Document 123    Filed 11/09/11   Page 3 of 11




United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (cites omitted).


B.    Ms. Robison’s Opinion that It Is Fairly Debatable Whether a PRP
      Letter Would Be Considered a “Suit” under Alabama Law is Beyond
      Her Area of Expertise and Lacks Any Reliable Basis.

      Travelers intends to have Ms. Robison offer the opinion that “[t]he issue of

whether or not the State of Alabama considered a PRP notification by the USEPA

as a suit was fairly debatable at the time Travelers made its determination” to

refuse to defend Alagasco.      See Expert Report of Kathleen J. Robison at 2

(hereinafter, the “Robison Report,” attached as Exhibit A).          However, Ms.

Robison lacks any education, training or experience that would give her special

insight into that question. More importantly, her deposition testimony confirms

that she has no basis for the opinion.

      In terms of education, training and experience, Ms. Robison has never

studied law. See id. at Ex. A, p. 2 (Ms. Robison’s curriculum vitae shows she has

an undergraduate degree in political science and history from Western College).

While she has been a claims professional for many years, she testified to having

only modest experience with environmental claims in general and that she could

not recall ever being involved in a claim initiated by a PRP Letter. As Ms.

Robison testified:

             Q. Am I correct to assume that you, other than the case that
                we’re here to talk about today, you’ve never been involved

                                         3
     Case 2:10-cv-01840-IPJ     Document 123       Filed 11/09/11    Page 4 of 11




                in a situation where an insurance company had to consider
                whether or not a PRP letter would be considered a suit under
                a general liability policy for purposes of the defense?

            A. I can’t say that in my history some -- someplace in time that
               didn’t occur, but I can’t say for sure.

            Q. . . . sitting here today you don’t recall any such instance?

            A. . . . sitting here today I don’t recall such instances.

Deposition of Kathleen Robison, November 2, 2011, 51:2-14 (hereinafter,

“Robison Dep.,” attached as Exhibit B). When asked about her basis for her

opinion to the effect that it’s debatable whether the Alabama Supreme Court would

consider a PRP Letter to be a suit, she identified three things. First, she said she

was relying on the Munich Re Book,1 but she testified that she had never seen that

source prior to this case. Id., at 99:2-4. Second, she said she was relying on her

discussions with Travelers’ counsel. Id., at 104:1-3. Third, she said she was

relying on the views of Travelers’ claims department.           Id., at 104:4-10.   In

summary, she testified:



1
  The “Munich Re Book” bears the formal title “Environmental Coverage Case
Law, 20th Edition, 2009,” and is published by the reinsurer Munich Re America.
See Alagasco’s Resp. to Travelers’ Mot. for Partial Recons. of August 23, 2011
Order or, Alternatively, Mot. for Extension of Scheduling Order Deadlines, Ex. C
(Doc. 106-3). It summarizes case law across the country on various environmental
coverage issues, including whether or not PRP Letters trigger the duty to defend,
and was used by Travelers’ claims handlers. See Dep. of Gail Dalton, August 25,
2011, 26:4-22 (Doc. 106-1).


                                          4
        Case 2:10-cv-01840-IPJ    Document 123    Filed 11/09/11   Page 5 of 11




              Q. So the three things in there that you reviewed, the Munich
                 Re Book, your discussion with counsel for Travelers, and
                 the opinions of Travelers’ claims department; is that right?

              A. Correct.

              Q. Is there anything else?

              MR. WINSTON [Counsel for Travelers]: Objection, asked and
              answered.

              A. Not that I recall.

Id., at 104:11-19.

        In a case involving allegations of bad faith on the part of an insurer, it is

obviously inadequate for the expert witness to merely: (1) review a book they had

never seen before, which summarized legal opinions; (2) talk to the attorneys for

the insurance company (the ones who hired the witness); and (3) take into account

the views of the very claims department accused of acting in bad faith. The trial

court’s gatekeeper function calls for it to evaluate the “reasoning or methodology

underlying the testimony” and determine “whether that reasoning or methodology

properly can be applied to the facts in issue.” Daubert, 509 U.S. at 592-593.

Experts “must [employ] in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” McClain v. Metabolife

Int’l, Inc., 401 F.3d 1233, 1237 (11th Cir. 2005) (quoting Kumho Tire, 526 U.S. at

152).




                                           5
     Case 2:10-cv-01840-IPJ     Document 123     Filed 11/09/11   Page 6 of 11




      As the Eleventh Circuit has also made clear, “[t]he burden of establishing

qualification, reliability, and helpfulness rests on the proponent of the expert

opinion.”   Frazier, 387 F.3d at 1260.        The Committee Note to the 2000

Amendments of Rule 702 of the Federal Rules of Evidence advises:             “if the

witness is relying solely or primarily on experience, then the witness must explain

how that experience leads to the conclusion reached, why that experience is a

sufficient basis for the opinion, and how that experience is reliably applied to the

facts. The trial court’s gatekeeping function requires more than simply ‘taking the

expert’s word for it.’” See also Frazier, 387 F.3d at 1261. Accordingly, Ms.

Robison lacks any basis to opine regarding whether Travelers had a “debatable”

reason for denying coverage when it asserted that a PRP Letter was not a suit.


C.    Ms. Robison’s Opinion that Travelers Acted Reasonably in Taking the
      Position That a Request for Information from EPA Was Not a “Formal
      Claim” Sufficient to Allow the Carrier to Evaluate Its Coverage
      Obligations Is Likewise Beyond Her Area of Expertise and Lacks Any
      Reliable Basis.

      Ms. Robison also proposes to opine that Travelers acted reasonably when it

took the position that the EPA’s Request for Information sent to Alagasco was not

a “formal claim” and, as a result, Travelers could not determine whether it had any

coverage obligations in 2008.2 See Robison Report at 4. See also Robison Dep.,


2
   To provide some context for this proposed testimony, Travelers elected to rest on
its view that EPA’s Request for Information was not a “formal claim” and

                                         6
     Case 2:10-cv-01840-IPJ     Document 123     Filed 11/09/11   Page 7 of 11




Ex. 6 (Letter from Travelers’ Nicole Tarczanin to Alagasco’s Paige Goldman dated

November 10, 2008, attached hereto as Exhibit C). Much like her inexperience

with PRP Letters, Ms. Robison testified that she could not recall ever having been

presented with a claim involving an EPA Request for Information:

            Q. What’s the basis for that opinion?

            A. The basis for that opinion is that the -- at this point in time
               the US EPA is asking for information and had not presented
               a claim for damages, it was -- it was simply looking for
               information, stating that there would be a claim.

            Q. Did you resort to any reference materials to make that
               evaluation, meaning the evaluation this was a reasonable
               statement?

            A. No.

            Q. Okay. Did you review the information requested?

            A. Yes.

            Q. So to be sure I’m understanding, the basis for your opinion
               is that in your review of the information request it didn’t
               make a demand for damages, is that -- did I understand that
               right?


proceeded to do virtually nothing with regard to assessing Alagasco’s right to
coverage between the end of 2008 and early 2010, thereby leaving Alagasco to
deal with the EPA’s claims on its own. See, e.g., Robison Depo. at 94:15-99:1.
Alagasco contends that Travelers’ failure to investigate the claim, its failure to
submit the information it already had in hand to a cognitive review, its failure to
follow its own procedures, and its misrepresentations to Alagasco with regard to
whether it was actually reviewing Alagasco’s claim all constitute “abnormal” bad
faith within the meaning of cases like Employees’ Benefit Ass’n v. Grissett, 732 So.
2d 968, 976 (Ala. 1998).

                                         7
     Case 2:10-cv-01840-IPJ      Document 123    Filed 11/09/11   Page 8 of 11




            A. It didn’t present a claim, it was asking for information.

            Q. And -- and other than your review of the information request
               do you have any other basis for your review that this was a
               reasonable position on the part of Ms. Tarczanin?

            A. It would be the -- it would be my – based on my past
               experiences in claims handling and on the documents that I
               reviewed.

            Q. In regard to your past experience, I believe you testified
               earlier that you couldn’t recall a particular instance where
               you had to consider a request for information; did I get that
               right?

            A. That’s correct.

Robison Dep. 112:7-113:9.

      Of course, had either Travelers or Ms. Robison made a closer review of the

Munich Re Book, they would have seen that the book reported that at least some

jurisdictions not only consider information requests from environmental agencies

to constitute claims but also view them as “suits” triggering the duty to defend.

See Munich Re Book at 7 (describing the holding in SCSC Corp. v. Allied Mut. Ins.

Co., 536 N.W.2d 305 (Minn. 1995)). More importantly, the Munich Re Book

reports no cases supporting the notion that a Request for Information is not a

“formal claim” and, as far as Alagasco’s research has found, there are no such

reported cases. In any event, the mere review of a Request for Information by a

witness with no recollection of being involved in any other claim involving such a




                                         8
      Case 2:10-cv-01840-IPJ     Document 123     Filed 11/09/11   Page 9 of 11




question and who did little to no independent research regarding the subject is not

a sufficient basis for an expert opinion.

      As suggested in footnote 2, above, Alagasco will vigorously contest the

remainder of Ms. Robison’s opinions with regard to whether Travelers timely

commenced and properly carried out its evaluations of Alagasco’s right to a

defense and with regard to whether Travelers really followed its own procedures.

Alagasco believes, however, that the jury will be well able to assess credibility and

weigh the evidence on these points. Therefore, Alagasco does not seek to prevent

Ms. Robison from testifying on the other issues identified in her report.


                               II.    CONCLUSION

      Ms. Robison lacks sufficient expertise and has no adequate basis to give

opinions on whether or not it is “debatable” if the Alabama Supreme Court would

consider a PRP Letter to be a “suit” triggering Travelers’ duty to defend, or on

whether Travelers was reasonable to assert that a Request for Information from the

EPA was not a “formal claim” sufficient for the carrier to determine its potential

coverage obligations to Alagasco. Therefore, Alagasco respectfully requests that

Ms. Robison’s testimony be limited to the other issues reflected in her expert

report regarding the timeliness and reasonableness of Travelers’ claims handling

activities and the degree to which those activities adhered to the company’s

procedures.

                                            9
Case 2:10-cv-01840-IPJ   Document 123    Filed 11/09/11   Page 10 of 11




 This 9th day of November, 2011.


                              /s/ REBECCA W. PRITCHETT
                              REBECCA W. PRITCHETT
                              Alabama Bar No. ASB-5146-T83R
                              rebecca@pritchettlawfirm.com
                              FRED R. DELEON, JR.
                              Alabama Bar No. ASB-0761-R80D
                              fdeleon@pritchettlawfirm.com
                              Pritchett Environmental & Property Law LLC
                              3205 Lorna Rd., Ste. 101
                              Birmingham, Alabama 35216
                              Tel: (205) 824-9092
                              Fax: (205) 824-8092

                              W. SCOTT LASETER
                              Georgia Bar No. 438515
                              Kazmarek Geiger & Laseter LLP
                              3490 Piedmont Road, NE
                              Suite 350
                              Atlanta, Georgia 30305
                              Tel: (404) 812-0839
                              Fax: (404) 812-0845
                              slaseter@kglattorneys.com

                              Counsel for Plaintiff




                                   10
     Case 2:10-cv-01840-IPJ     Document 123     Filed 11/09/11   Page 11 of 11




                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed this ALAGASCO’S BRIEF IN

SUPPORT OF MOTION TO LIMIT THE EXPERT TESTIMONY OF KATHLEEN

J. ROBISON with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to the following attorneys of

record:

                          Andrew J. Sinor, Esq.
                          Hand Arendall, LLC
                          1200 Park Place Tower
                          2001 Park Place North
                          Birmingham, Alabama 35203

                          Frank Winston, Jr., Esq.
                          Ruth Kochenderfer, Esq.
                          Paul Janaskie, Esq.
                          Steptoe & Johnson LLP
                          1330 Connecticut Avenue, N.W.
                          Washington, D.C. 20036

Done this 9th day of November, 2011.



                                     /s/ REBECCA W. PRITCHETT
                                     REBECCA W. PRITCHETT
                                     Attorney for Plaintiff
                                     Alabama Gas Corporation




                                         11
